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              IN THE UNITED STATES DISTRICT COURT FOR THE
                                                        :_


                      EASTERN DISTRICT OF VIRGINIA
                                                                p        0 L E R|
UNITED   STATES OF AMERICA
                           Alexandria Division

                                                                F JUL 112012 y
                                                                    CLERK, U.S. DISTRICT COURT
                                                                       ALEXANDRIA, VIRGINIA
            V.                                 l:10cr438    (LMB)
                                               l:12cv439    (LMB)

JOSEPH ALLEN SMITH,

      Defendant.


                            MEMORANDUM   OPINION


      Before the Court is Joseph Smith's ("Smith" or "movant")

pro se Motion to Vacate, Set Aside, or Correct Sentence By a

Person in Federal Custody Pursuant to 28 U.S.C.          § 2255 (*§ 2255

Motion"),   in which he argues that he should have received the

benefit at sentencing of the safety valve at § 5C1.2 of the

United States Sentencing Guidelines ("U.S.S.G."). He also argues

that statutory mandatory minimum sentences are unconstitutional

and that his counsel provided ineffective assistance. Because

Smith's Motion lacks merit on its face, no response from the

Government is required, and the Motion will be summarily

dismissed.1




 Rule 4(b) of the Rules Governing Section 2255 Proceedings
provides:

     The judge who receives the motion must promptly
     examine it. If it plainly appears from the motion, any
     attached exhibits, and the record of prior proceedings
     that the moving party is not entitled to relief, the
     judge must dismiss the motion and direct the clerk to
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                              I.   BACKGROUND


      Smith was indicted on November 18, 2010 for conspiracy

under 21 U.S.C. § 846 to distribute oxycodone in violation of 21

U.S.C. § 841 (Count I), distribution of oxycodone in violation

of 21 U.S.C. § 841(a)(1)      (Count II), and possession of a firearm

in furtherance of a drug trafficking crime in violation of 18

U.S.C.   § 924(c)   (Count IV). See Dkt. No. 20.2 Smith retained

defense attorneys Peter Greenspun and Amy Bradley of Greenspun,

Shapiro, Davis & Leary, P.C. On January 21, 2011, Smith pled

guilty without a formal plea agreement to Count I, the

conspiracy count. See Dkt. No. 97 (transcript of plea hearing).

The Government agreed to dismiss Count II; however,          it refused

to dismiss Count IV.    Id.


     Smith waived his right to a jury in favor of a bench trial

and went to trial on the firearm charge. See Dkt. No. 85

(waiver). On January 31, 2011, after a one-day bench trial, the

Court found Smith guilty as to Count IV. The firearm charge

carried a five-year statutory mandatory minimum sentence that



     notify the moving party.     If the motion is not
     dismissed, the judge must order the United States
     attorney to file an answer, motion, or other response
     within a fixed time, or to take other action the judge
     may order.

 The indictment followed the October 25, 2010 filing of a
criminal complaint in which Smith's wife Lois Settle Smith and
son Warren Lee Smith were named as co-conspirators. Count III
names Settle Smith alone.
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had to run consecutive to any other sentence imposed in the

case. See § 924(c)(1)(a)(i). On April 8, 2011, Smith was

sentenced to one month of imprisonment on Count I and 60 months

consecutive on Count IV, plus three years of supervised release.

See Dkt. No. 151 at 24 (transcript of sentencing hearing), Dkt.

No. 158 (judgment). Judgment was entered on May 12, 2011 after

certain forfeiture matters were resolved.

      Through counsel, Smith timely noticed an appeal of his

conviction on Count IV; however, the Court of Appeals affirmed

the conviction,    finding that "the record discloses that the

evidence was sufficient to support the finding that Smith

possessed the firearm in furtherance of the drug conspiracy."

United States v. Smith, No. 11-4585, slip op. at 4 (4th Cir.

Dec. 8, 2011). On April 19, 2012, Smith timely filed his pro se

§ 2255 Motion.


                             II.   DISCUSSION


     In his motion, Smith raises three issues: 1) that he should

have had the benefit of the safety valve at sentencing and that

his counsel were deficient by not arguing for its application;

2) that statutory mandatory minimum sentences are

unconstitutional; and 3) that counsel were deficient when they

advised Smith on a forfeiture matter, when they counseled Smith

on his jury trial waiver, and when they failed to arrange a plea
deal on the firearm charge.
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           A. Standard of Review


         A motion under 28 U.S.C. § 2255 provides for collateral

attack on a conviction or sentence that was imposed in violation

of the United States Constitution or laws, where the court

lacked jurisdiction to impose the sentence, where the sentence

was in excess of the maximum authorized,           or where the sentence

or conviction is otherwise subject to collateral attack. To

prevail on a § 2255 motion, a movant bears the burden of proving

his grounds for collateral relief by a preponderance of the

evidence. Vanater v. Boles,        377 F.2d 898,    900 (4th Cir.   1967).

Relief under 28 U.S.C.        § 2255 is designed to correct for

fundamental constitutional,        jurisdictional, or other errors, and

it is therefore reserved for situations in which failing to

grant relief would otherwise "inherently result [] in a complete

miscarriage of justice." United States v. Addonizio, 442 U.S.

178, 185 (1979)      (quoting Hill v. United States,      368 U.S. 424,

428 (1962)). Moreover, a motion pursuant to § 2255 "may not do

service for an appeal," and claims that were not appealed are

deemed waived and, therefore, procedurally defaulted unless the

movant can show cause and actual prejudice. United States v.

Frady,    456 U.S.   152,   165-67 (1982).

     An exception applies, however, when a defendant brings a

claim of constitutionally ineffective assistance of counsel.

See United States v. DeFusco, 949 F.2d 114, 120-21 (4th Cir.
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1991).   A defendant can raise the claim of ineffective assistance

of counsel in three ways:      "(1) in a motion for a new trial based

on anything other than newly discovered evidence;          (2) on direct

appeal if and only if it conclusively appears from the record

that his counsel did not provide effective assistance; or (3) by

a collateral challenge pursuant to 28 U.S.C. § 2255." United

States v. Martinez,     136 F.3d 972,   979 (4th Cir.    1998).

         B. The Safety Valve

      Smith argues that he should have received the benefit of

the safety valve and that his counsel provided ineffective

assistance at the sentencing hearing by failing to argue that

the safety valve applied. See § 2255 Mot. at 3-5. Smith's

argument is based on the patently incorrect assumption that he

was safety valve-eligible. With limited exceptions, courts lack

discretion to sentence below a statutory mandatory minimum such

as the one applicable to Count IV. One such exception is

U.S.S.G. § 5C1.2, known as the safety valve.         To be eligible for

the safety valve, a defendant must satisfy five enumerated

statutory requirements. See U.S. Sentencing Guidelines Manual

§ 5C1.2; accord 18 U.S.C. § 3553(f). Only if all five

requirements are satisfied may a court impose a sentence below

the statutory mandatory minimum. The second requirement, and the

one at issue here,    is that "the defendant did not use violence

or credible threats of violence or possess a firearm ... in
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 connection with the offense." See U.S.S.G. § 5C1.2(a)(2)

 (emphasis added).3

      Smith does not dispute that he was found guilty of

possessing a firearm in connection with the drug offense named

in Count I, to which he had pled guilty. The conviction was

summarily affirmed by the Court of Appeals:

      Our review of           the    record discloses        that   the   evidence
      was sufficient to support the finding that Smith
      possessed the firearm in furtherance of the drug
      conspiracy.       The        evidence     revealed     that   Smith     dealt
      drugs from his home and that the handgun in question
      was found on Smith's nightstand, and thus was easily
      accessible. The gun was found within inches of a
      plastic baggie containing loose Xanax pills, which the
      evidence at trial showed were also sold as part of the
      conspiracy and in that same packaging. Further, Smith
      made statements             to a   law enforcement officer and to a
      jail    inmate         in    which   he       acknowledged    keeping     the
      handgun     for    protection           against      drug   customers     who
      might   come      to    the    house     to    rob   him.   Smith   did   not
      legally possess the handgun, and the evidence showed
      that he applied for a concealed weapon permit at a
      time in the conspiracy when drugs were being sold from
      his home.


United States v. Smith, No. 11-4585, slip op. at 4 (4th Cir.

Dec. 8, 2011). Therefore, it is patently clear that Smith was

ineligible for the safety valve. Had his attorneys argued at

sentencing for its application, not only would their argument

have been rejected, it would have been disregarded as

frivolous.4 See Whitehead v. Cowan, 263 F.3d 708, 732 (7th Cir.

2001)(rejecting ineffective assistance claim against appellate

 Movant inaccurately paraphrases the statute by leaving out the
"possession" prong. See § 2255 Mot. at 3.
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counsel because "[t]hey certainly do not have to present losing

arguments"). Moreover,     Smith suffered no prejudice as a result

of his attorneys' decision not to advance the argument given

that the Court could not and would not have applied the safety

valve in any event.

      Because Smith's allegation relies on a misreading of the

eligibility requirements under U.S.S.G. § 5C1.2(a), his

attorneys committed no error in not arguing for application of

the safety valve,    and any claim of ineffective assistance in

this regard is meritless.5

        C. Statutory Mandatory Minimum Sentences

     Smith offers a variety of legal and policy arguments with

respect to the sentencing guidelines and statutory mandatory

minimum sentences, contending that statutory mandatory minimum

sentences are unconstitutional under United States v. Booker,

543 U.S. 220 (2005), and that regardless of the statute, the



4 Smith's attorneys continued to fight the firearm charge and
five-year minimum sentence post-trial by filing a Renewed Motion
for Judgment of Acquittal or in the Alternative a New Trial, in
which they argued that there had been insufficient evidence
introduced at trial to show Smith's firearm was possessed or
used in connection with or in furtherance of the drug
conspiracy. See Dkt. No. 151 at 3-7. The motion was denied after
oral argument was heard at the sentencing hearing. Id.

 Although Smith challenges his sentence on Count IV, he received
a significantly variant total sentence. The advisory guideline
range for Count I was 121 to 151 months of incarceration, yet
the Court imposed a term of imprisonment of one month on that
count for a total sentence of 61 months on Counts I and IV.
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 Court should have based his sentence on the § 3553(a)          factors.

 See § 2255 Mot. at 1-3, 5-9.6 Smith maintains that it "is

apparent that [§] 3553(a) controls sentencing, and a minimum

sentence is in contracdiction [sic] and opens a claim that the

Minimum Sentence is Unconstitutional if it is made mandatory.

The structure of 924(c) if enforced unconditionally, would

prevent the court from considering individual factors under

3553(a)." Id^ at 7.7

       Smith's attack on mandatory minimum sentences is meritless,

and the case law he cites for the proposition that such

sentences are unconstitutional under Booker holds precisely the

opposite. See, e.g., United States v. Vargas, 204 F. App'x 92,

94-95 (2d Cir. Nov. 7, 2006)("[Booker] did not foreshadow the

end of, or otherwise cast doubt on the constitutionality of,

mandatory minimum sentences.")(citation omitted); United States


  Smith also cites to decisions holding that where the safety
valve is applicable, it is mandatory. See § 2255 Mot. at 1-2
(citing United States v. Quirante, 486 F.3d 1273, 1275 (11th
Cir. 2007))(requiring application of safety value where it was
undisputed that defendant met the five requirements of U.S.S.G.
§ 5C1.2). As discussed above, because Smith was not safety
valve-eligible, Quirante is inapposite. See United States v.
Tanner, 544 F.3d 793, 795 (7th Cir. 2008)(stating that a judge
"cannot treat as advisory the guideline provisions" enumerated
at § 3553(f), which "are preconditions for safety-valve
relief"); United States v. Brown, 767 F. Supp. 2d 601, 604 (E.D.
Va.   2011)(same).


 Although these claims were not raised on direct appeal and are,
therefore, subject to procedural default, their clear lack of
legal merit warrants disposing of them by reference to the
controlling case law.
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v. Wilson,      352 F. App'x 790, 790-91 (4th Cir. Nov. 19,

2009)(same); United States v. Phillips, 127 F. App'x 641, 644

(4th Cir. Mar. 29, 2005) (same). Accordingly, Smith's claims as

to the validity of his sentence fail.

         D. Ineffective Assistance of Counsel


       Finally, Smith alleges that he received constitutionally

ineffective assistance of counsel when his attorneys "provided

incorrect information that" prejudiced him. See § 2255 Mot. at

9. Specifically, Smith maintains that counsel improperly advised

him to allow completion of the forfeiture of his automobile;

recommended that he waive his right to a jury trial on the

firearm charge because "there was more opportunity with the

Judge"; and failed to pursue a plea to the § 924(c)          count. See

§   2255 Mot.   at   9-11.


       To sustain a     § 2255 motion based on ineffective assistance

of counsel, Smith must satisfy the two-pronged test set forth in

Strickland v. Washington, 466 U.S. 668 (1984), which requires a

showing of both deficient performance by counsel and prejudice

to the defendant. Because it "is all too tempting for a

defendant to second-guess counsel's assistance after conviction

or adverse sentence" and because a wide range of legitimate

defense strategies are possible in a given case, "scrutiny of

counsel's performance must be highly deferential." Id. at 689.

Even were counsel's performance unreasonable, to prevail on a
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§ 2255 motion, a defendant must affirmatively "show that there

is a reasonable probability that, but for counsel's

unprofessional errors, the result of the proceeding would have

been different. A reasonable probability is a probability

sufficient to undermine confidence in the outcome." Id. at 694.

     To the extent that Smith's claims are even cognizable on

habeas review, he cannot meet either of the Strickland prongs as

to any of his ineffective assistance of counsel claims. He first

alleges that "[c]ounsel advised Smith not to attempt to pay for

the Charger Automobile" and "instructed Smith to allow that

forfeiture to [sic] completed." § 2255 Mot. at 9. As a

preliminary matter, it appears no "Charger Automobile" was

forfeited; however, movant may be referring to a 2010 Dodge

Challenger SRT8, which was named in the indictment's forfeiture

notice in connection with Count I, to which Smith pled guilty.

See Dkt.   No.   20 at 8.   The Government had maintained that Smith


and his wife were in their red 2010 Dodge Challenger SRT8 when

they received $1400 cash as partial payment for 200 previously

provided oxycodone 30 mg pills. See Dkt. No. 1 23 (Lenhart

Decl.).


     Criminal defendants are typically subject to forfeiture of

any "property used, or intended to be used,        in any manner or

part, to commit, or to facilitate the commission of" a drug

trafficking offense in violation of 21 U.S.C.         §§ 841(a)(1) and



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846. See 21 U.S.C. § 853(a)(2). As the preliminary order of

forfeiture states:


       [T]he following vehicle seized at the residence of
       defendants Lois Settle Smith and Joseph Allen Smith in
       Boston,  Virginia,  on October 26,    2010,  shall  be
       forfeited to the United States of America, as property
       used        or   intended   to   be   used   to   facilitate   the
       commission of a drug trafficking offense:             2010 Dodge
       Challenger, VIN: 2B3CJ7DW9AH104129, registered in the
       names of defendants Lois Ann Smith and Joseph Allen
       Smith . . . .

Dkt.   No.    159 at 4.


       Smith does not cite to any authority supporting his

view that a prisoner can file a § 2255 motion to challenge

forfeiture. To the contrary, such a use of § 2255 relief

has been rejected because the statute, by its terms,

affords relief to a "prisoner in custody" who is "claiming

the right to be released." See § 2255(a); Murphy v. United

States,      No.   07-C-3804,   2009 WL 424490, at *6-9 (N.D. 111.

Feb. 17, 2009)(relying on a line of restitution cases to

find that § 2255 does not apply to forfeiture because "[b]y

its plain language,         . . . relief under § 2255 is limited to

issues of custody and liberty.")(citations omitted); cf.

United States v. Bernard, 351 F.3d 360, 361 (8th Cir.

2003)("We join a majority of circuits in holding that a

federal prisoner cannot challenge the restitution portion

of his sentence using 28 U.S.C. § 2255, because this

statute affords relief only to prisoners claiming a right


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to be released from custody.")(collecting cases).

Accordingly, Smith's bare assertion of ineffective

assistance of counsel as to their forfeiture advice fails.

        Smith's contention that he did not knowingly and

voluntarily waive his right to a jury trial is contradicted by

the record. First, Smith signed a written Waiver of Trial by

Jury,    which read:

        I,   Joseph Allen Smith   . . . having been furnished a
        copy of the indictment against me, having been fully
        advised by the Court or my attorney of the nature of
        the charge(s) against me, and having the possible
        sentence or sentences resulting from such charge(s),
        and having further been fully advised by the Court or
        my attorney of my right to a trial by jury, do hereby
        knowingly, freely and voluntarily waive trial by jury
        on said charge (s) and request and consent to trial by
        the Court without a jury.

See Dkt. No. 85. At the January 21, 2011 plea hearing on Count

I, counsel represented that he had "two signed jury waiver forms

that Mr. Smith just executed, but we've gone over them in

detail." Dkt. No. 97 at 3:18-3:20. Second, following the

acceptance of Smith's and his wife's guilty pleas, the Court

held the following colloquy with both defendants:

     THE COURT: Mr. and Mrs. Smith, did your lawyers
     discuss with you your right to have a jury trial on
    the gun counts?
    DEFENDANT LOIS SMITH: Yes, ma'am.
    DEFENDANT JOSEPH SMITH: Yes, ma'am.
    THE COURT: All right. Are you both comfortable in
    going forward without a jury and just having the
    judge hear the case?
    DEFENDANT LOIS SMITH: Yes, ma'am.
    DEFENDANT JOSEPH SMITH: Yes, ma'am.



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       THE COURT: Has anyone pressured you into going that-
       making that decision?
       DEFENDANT JOSEPH SMITH: No, ma'am.
       DEFENDANT LOIS SMITH: No, ma'am.
       THE COURT: And do you feel you've had enough time to
       discuss the waiver with your counsel?
       DEFENDANT JOSEPH SMITH: Yes, ma'am.
       DEFENDANT LOIS SMITH: Yes, ma'am.

Id.   at   60:3-20.


       Courts recognize that an attorney often has valid

strategic reasons for recommending his client choose a

bench trial. See, e.g., Steele v. United States, No. 04

Civ. 6918, 2005 WL 704868, at *11-12 (S.D.N.Y. Mar. 29,

2005)(collecting cases). Not only did Smith affirm orally

and in writing that he was waiving a jury trial after

consultation with counsel, he explains neither why his

attorneys' advice was unreasonable nor how a jury trial

would have resulted in a     different outcome.


      Finally,    Smith argues that he "did not want a trial, rather

he informed counsel that a plea would be the choice," yet his

attorneys "did not pursue a plea to the § 924(c) count." § 2255

Mot. at 9, 10. This claim makes no sense. Even if Smith had pled

to the gun count,     his sentence would have been the same. The

Government was obviously insistent on securing the five-year

minimum sentence; otherwise it would have been satisfied with

Smith's plea to Count I. Therefore, Smith fails to show how




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 counsel's representation was unreasonable in this respect or how

 he was prejudiced by counsel's conduct.8

       None of the alleged errors in Smith's § 2255 Motion make

out a proper ineffective assistance of counsel claim under

either prong of Strickland.

                             III.   CONCLUSION


     For the reasons stated above,        the § 2255 Motion will be

summarily dismissed. An Order consistent with this Memorandum

Opinion will issue.
                       Hi
     Entered this //        day of July, 2012.

Alexandria, Virginia



                                                           1st
                                             Leonie M. Brinkenia"
                                             United States District Judge




8 Smith misinterprets Missouri v. Frye, 132 S. Ct. 1399 (2012),
and Lafler v. Cooper, 132 S. Ct. 1376 (2012), asserting that
they provide a generalized "right to a more favorable result
through plea bargaining." § 2255 Mot. at 10. He makes no
assertion that any favorable plea offers lapsed or were rejected
by defense counsel without his consultation or due to a
misunderstanding of law.


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